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                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK


 E. JEAN CARROLL,

                                  Plaintiff,

           v.                                                No. 20 Civ. 7311 (LAK) (JLC)

 DONALD J. TRUMP, in his personal capacity,

                                  Defendant.


                                    JOINT PRETRIAL ORDER

          The parties having conferred among themselves and with the Court pursuant to Fed. R.

Civ. P. 16, the following statements, directions, and agreements are adopted as the Pretrial Order

herein.

I.        NATURE OF THE CASE

          A.     Plaintiff’s Proposed Statement of the Case

          In the spring of 1996, Plaintiff E. Jean Carroll, a journalist, writer, and advice columnist,

ran into Defendant Donald J. Trump at the Bergdorf Goodman department store in Manhattan.

What started out as playful banter took a dark turn when Trump seized Carroll, forced her up

against a dressing room wall, pinned her in place with his shoulder, and sexually assaulted her.

Afterwards, Carroll blamed herself for what had happened, and because of her embarrassment,

shame, and fear of what would happen if she spoke out, she only told two friends about the assault

and swore them at the time to secrecy. Things changed in 2017 while on a road trip interviewing

women for a book she planned to write about their experiences with the men in their lives. Carroll

decided to include in her book several of her own negative experiences with men, including

Trump’s attack many years before. Carroll’s book was published in 2019, and in advance of its
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release, on June 21, 2019, New York Magazine published an excerpt containing, among other

things, Carroll’s account of being sexually assaulted by Trump.

       Trump responded to that excerpt by publicly, falsely, and maliciously smearing Carroll’s

reputation. On June 21 and 22, 2019, Trump denied that he assaulted Carroll and insisted they had

never met. He accused Carroll of lying about the sexual assault to make money, to increase book

sales, or to carry out a political agenda. Later that week, he even maliciously insulted Carroll’s

physical appearance, implying that he could not have attacked her because “she’s not my type”—

in other words, that Carroll was too unattractive for him to have sexually assaulted. Trump made

these statements knowing they were false. After Trump’s statements, Carroll was barraged with

social media posts, messages, and emails from people repeating what he said—calling her a liar

and telling her that she was too ugly to sexually assault. Some even threatened her life. On

November 4, 2019, Carroll filed this lawsuit, alleging that Trump had defamed her when he made

his statements about her in June 2019.

       Three years later, on October 12, 2022, while this lawsuit was still pending, Trump

repeated his defamatory statements about Carroll, again denying the assault and claiming that she

made up her story to sell her book. On November 24, 2022, Carroll filed a second lawsuit against

Trump, bringing a defamation claim based on Trump’s October 2022 statement as well as a battery

claim that had been revived by the New York Adult Survivors Act. See Carroll v. Trump, No. 22

Civ. 10016 (S.D.N.Y.) (“Carroll II”).

       Trial in Carroll II began on April 25, 2023, and over the next two weeks, a nine-person

jury heard evidence and testimony from eleven witnesses. Carroll presented testimony from nine

fact witnesses and two expert witnesses to support her sexual battery and defamation claims.

Trump, for his part, chose not to call any witnesses, not to appear at the trial, and not to testify in




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his own defense. Instead, the jury heard 45 minutes of prerecorded testimony from a deposition

taken of Trump in October 2022, parts of which were presented by each side.

       Carroll testified for a full day on direct examination and for nearly two full days on cross-

examination. At trial, she testified that she ran into Trump one Thursday evening in the spring of

1996 at the 58th Street entrance of Bergdorf Goodman. Trump recognized Carroll, who testified

that she had previously met Trump at a party. She presented a photograph from that party to the

jury, showing herself, Trump, and their spouses laughing together. And she testified that in the

spring of 1996, Carroll had her own advice column and daily TV show and was easily recognized.

She testified that Trump, calling her the “advice lady,” asked her to help him pick out a gift for a

“girl.” Carroll obliged. Carroll testified that, after looking at hats and handbags together on the

ground floor, Trump eventually suggested that they go to the lingerie department on the sixth floor.

She testified that there was no one there when they arrived. The two came across a bodysuit on top

of a glass display case, and after some joking about who should try it on, Trump took Carroll’s

arm and led her toward the dressing room, which was unlocked.

       Carroll testified that immediately after she entered the dressing room, Trump slammed the

door and shoved her up against the wall. Her head hit the wall, and she pushed him back, but he

thrust her back against the wall, banging her head again. She testified that Trump then put his

shoulder against her and held her against the wall with his weight. He initially pressed his mouth

on her mouth, then he leaned down and pulled down her tights, while she continued to try to push

him off. She testified that she felt him shove his fingers into her vagina, which was extremely

painful, and then insert his penis. Carroll was soon able to get her knee up high enough to push

him off. She then fled the store onto Fifth Avenue.




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       When Carroll made it out of the store onto the street, she immediately called her friend,

author Lisa Birnbach, and told her what had just happened. She testified that Lisa told her she had

been raped and that she should go to the police. Carroll also testified that two days later, she told

a close friend, TV anchor Carol Martin, who told her to do nothing because Trump had 200 lawyers

and would “bury” her. Carroll testified that, embarrassed and ashamed, she did not go to the police

or tell anyone else what had happened for over twenty years. Then, on June 21, 2019, New York

Magazine published an excerpt from her forthcoming book that included a description of her

encounter with Trump. Carroll testified how over the next several days, Trump responded to her

allegations with a series of brutal statements, denying her allegations, attacking her motives for

coming forward, and stating that she was “not [his] type.” She also testified how several years

later, on October 12, 2022, Trump repeated all his defamatory statements about Carroll on the

social media platform, Truth Social. Carroll testified how Trump’s traumatic attack negatively

impacted her for the rest of her life, how his repeated statements destroyed her reputation, and how

the public backlash, after Trump defamed her, was swift and brutal.

       Carroll called ten witnesses to support her case, including Lisa Birnbach and Carol Martin,

both of whom testified that Carroll had told them she had been sexually assaulted by Trump in the

minutes and days following the attack. Two witnesses who were employees of Bergdorf Goodman

in the mid-1990s corroborated Carroll’s description of the layout and atmosphere of the store at

that time. Two women who had been sexually assaulted by Trump, one in 1978 and the other in

2005, also testified. Both came forward publicly after they saw Trump claim during the 2016

presidential campaign that he had never kissed or groped a woman without her consent. They also

testified that, after they came forward, Trump made statements about them that were similar in

nature to those he made about Carroll in 2019, saying they were lying and insulting their physical




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appearance. Carroll’s sister, Cande Carroll, testified that she and Carroll had been raised never to

speak to anyone about things like sexual assault, and instead to always present a positive attitude

to the rest of the world. Roberta Myers, the former editor-in-chief of Elle and Carroll’s former

boss, testified about Carroll’s reputation for integrity as a journalist as well as her popularity as a

columnist.

       Carroll also called two experts. Dr. Leslie Lebowitz, a clinical psychologist and expert on

trauma, testified that Carroll experiences symptoms that are consistent with her account of being

sexually assaulted and that it was not abnormal for a woman who was assaulted not to speak about

it for years. Dr. Ashlee Humphreys, a Professor at Northwestern University, testified about the

amount of money it would take to help repair Carroll’s reputation in the public sphere from the

damage caused by the statement Trump made about Carroll in October 2022.

       Trump did not present any witnesses or testify in his own defense. The parties showed a

video of sworn testimony Trump gave during a deposition, in which he confirmed the accuracy of

the statements he made about Carroll in June 2019 and October 2022.

       On May 9, 2023, after deliberating less than three hours, the jury unanimously held Trump

liable for battery based on a finding that he had sexually abused Carroll. In addition, the jury

unanimously held Trump liable for defamation based on his October 2022 statement. The jury

awarded Carroll a total of $5 million in compensatory and punitive damages.

       As a result of that verdict, the jury in this trial will be required to accept as true that Trump

was at Bergdorf Goodman in 1996, that he sexually abused Carroll there, and that she did not make

the story up. The jury will be told that it should assume that Trump’s June 21 and 22, 2019

statements were false, defamatory, and made with actual malice, meaning Trump knew his

statements were false or acted in reckless disregard of whether or not they were true. Trial in this




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action is therefore limited to the question of damages from Trump’s defamatory statements in June

2019. Carroll seeks compensatory damages for injury to her reputation, humiliation, and mental

anguish in her public and private life, and punitive damages to punish Trump for acting maliciously

and to deter Trump and others from engaging in defamation of Carroll again.

       B.      Defendant’s Proposed Statement of the Case

       On June 21, 2019, New York magazine published an excerpt from Plaintiff’s upcoming

book in which she alleged that Defendant raped her in a Bergdorf Goodman during an unspecified

time in the mid 1990’s. Defendant, who at the time was the sitting President of the United States,

issued three statements dated June 21, 22, and 24, 2019, rebutting Plaintiff’s allegation. Plaintiff

now seeks compensatory and punitive damages for the statements issued on June 21 and June 24

(the “Statements”). Pursuant to the Court’s Order dated September 6, 2023, this trial has been

limited to the issue of damages only.

       Contrary to Plaintiff’s contention, she did not sustain any reputational or economic harm

as a result of the Statements; even if she did, any harm incurred was de minimis and the result of

Plaintiff’s own course of conduct.

       Furthermore, Defendant made the Statements within the “outer perimeter of his official

responsibility” and he is therefore immune from civil liability under the doctrine of presidential

immunity. Nixon v. Fitzgerald, 457 U.S. 731, 756 (1982) (cleaned up).

       Accordingly, Defendant respectfully demands judgment dismissing the Complaint in its

entirety together with costs, disbursements, and all other relief this Court deems just and proper.

       In addition, Defendant expressly reserves the right to amend and/or supplement his

responses to this Pretrial Order pending adjudication of his motion to substitute a new rebuttal




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   expert filed by Defendant on November 2, 2023, See ECF 221, and any subsequent evidentiary

   rulings issued by the Court prior to trial.

   II.     JURY/NON-JURY

           Carroll and Trump both request that this action be tried by jury. Carroll estimates that the

   trial will take between 2 and 3 days. Trump estimates that the trial will take between 3 and 5 days.

   III.    STIPULATED FACTS

           Carroll and Trump state that in accordance with the Court’s Order dated September 6,

   2023, “[t]rial in this case shall be limited to the issue of damages only.” ECF 214 at 4. The parties

   are open to stipulating as to the underlying facts so that they can be conveyed to the jury in the

   form of stipulations, by means of a preliminary instruction or in whatever other manner the Court

   deems appropriate.

   IV.     EXHIBITS

           No exhibit not listed below may be used at trial except (a) for cross-examination purposes,

   (b) by plaintiff on rebuttal, or (c) if good cause for its exclusion from the pretrial order is shown.

           A.      Plaintiff’s Exhibits

           The following is a list of exhibits Plaintiff intends to offer in her case-in-chief:

Exhibit                                           Defendant’s         Stipulation to         Stipulation to
                Document Description
 No.                                              Objections          Authenticity           Admissibility

          Trump’s June 21, 2019
 PX-1     statement (Laura Litvan tweet)                                    Yes                   Yes
          (Defendant Dep. Ex. 20)

          Trump’s June 22, 2019
          statement, as redacted
          (transcript of remarks before
 PX-2                                                                       Yes                   Yes
          Marine One departure) (MP-
          001795), as redacted
          (Defendant Dep. Ex. 21)




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Exhibit                                       Defendant’s     Stipulation to   Stipulation to
              Document Description
 No.                                          Objections      Authenticity     Admissibility

          Trump’s June 24, 2019
          statement (article from The Hill:
          Jordan Fabian and Saagar
                                              FRE 401, 403,
 PX-3     Enjeti, Trump Vehemently                                 Yes              No
                                                  404
          Denies E. Jean Carroll
          Allegation, Says “She’s Not My
          Type”) (Defendant Dep. Ex. 22)

          Trump’s October 12, 2022
                                              FRE 401, 403,
 PX-4     statement (Truth Social post)                            Yes              No
                                                  404
          (Defendant Dep. Ex. 28)

          E. Jean Carroll’s book: What
          Do We Need Men For? A
                                              FRE 401, 403,
 PX-5     Modest Proposal (2019), as                               Yes              No
                                               801, and 802
          redacted (Defendant Dep. Ex.
          19)

          New York Magazine article:
          Donald Trump Assaulted Me in
          a Bergdorf Goodman Dressing
          Room 23 Years Ago. But He’s         FRE 401, 403,
 PX-6                                                              Yes              No
          Not Alone on the List of Awful       801, and 802
          Men in My Life (June 21, 2019)
          (online version), as redacted
          (Plaintiff Dep. Ex. 4)

          New York Magazine article:
          Donald Trump Assaulted Me in
          a Bergdorf Goodman Dressing
          Room 23 Years Ago. But He’s         FRE 401, 403,
 PX-7                                                              Yes              No
          Not Alone on the List of Awful       801, and 802
          Men in My Life (June 24, 2019)
          (print version), as redacted
          (CARROLL_024378)

          Contract between E. Jean
          Carroll and Hearst Magazine
 PX-8     Media, dated January 28, 2019,      FRE 401, 403         Yes              No
          as redacted
          (CARROLL_025665)




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Exhibit                                      Defendant’s      Stipulation to   Stipulation to
              Document Description
 No.                                         Objections       Authenticity     Admissibility

          Photo of E. Jean Carroll, John
          Johnson, Donald J. Trump, and
          Ivana Trump
 PX-9                                       FRE 401, 403           Yes              No
          (CARROLL_030211)
          (Defendant Dep. Ex. 23;
          Plaintiff Dep. Ex. 2)

                                            Depending on
                                            the portions to
          Video recording of the
                                            be designated,
          deposition of Donald J. Trump
PX-10                                       Defendant may          Yes              No
          dated October 19, 2022
                                             object under
          (portions to be designated)
                                            FRE 106, 401,
                                               403, 404
                                            Depending on
                                            the portions to
          Video recording of the
                                            be designated,
          deposition of Robbie Myers
PX-11                                       Defendant may          Yes              No
          dated October 12, 2022
                                             object under
          (portions to be designated)
                                            FRE 106, 401,
                                                 403,
                                            Depending on
                                            the portions to
          Transcript of the deposition of
                                            be designated,
          Robbie Myers dated October
PX-12                                       Defendant may          Yes              No
          12, 2022 (portions to be
                                             object under
          designated)
                                            FRE 106, 401,
                                                 403
                                            Depending on
                                            the portions to
          Transcript of the deposition of
                                            be designated,
          Donald J. Trump dated October
PX-13                                       Defendant may          Yes              No
          19, 2022 (portions to be
                                             object under
          designated)
                                            FRE 106, 401,
                                               403, 404




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Exhibit                                       Defendant’s      Stipulation to   Stipulation to
              Document Description
 No.                                          Objections       Authenticity     Admissibility
                                            FRE 401, 403,
                                             702, 703, 801,
                                            and 802; FRCP
                                            26(a)(2)(D)(ii);
          Prof. Ashlee Humphreys               Daubert v.
PX-14                                                               No               No
          demonstrative exhibit               Merrell Dow
                                             Pharms., Inc.,
                                             509 U.S. 579,
                                            113 S. Ct. 2786
                                                (1993)

          Transcript of the deposition of
PX-15     Natasha Stoynoff dated October     FRE 403, 404           Yes              No
          13, 2022

                                             FRE 401, 403,
                                                404 and
                                            depending on the
          Transcript of the deposition of
                                             portions to be
PX-16     Jessica Leeds dated October 13,                           Yes              No
                                              designated,
          2022
                                             Defendant may
                                              object under
                                               FRE 106
                                             FRE 401, 403,
                                                404 and
                                            depending on the
          Video recording of the
                                             portions to be
PX-17     deposition of Natasha Stoynoff                            Yes              No
                                              designated,
          dated October 13, 2022
                                             Defendant may
                                              object under
                                               FRE 106
                                             FRE 401, 403,
                                                404 and
                                            depending on the
          Video recording of the
                                             portions to be
PX-18     deposition of Jessica Leeds                               Yes              No
                                              designated,
          dated October 13, 2022
                                             Defendant may
                                              object under
                                               FRE 106




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Exhibit                                    Defendant’s     Stipulation to   Stipulation to
              Document Description
 No.                                       Objections      Authenticity     Admissibility

          September 26, 2016
          Presidential debate video        FRE 401, 403,
PX-19                                                           Yes              No
          (Stoynoff Dep. Ex. 3; Leeds          404
          Dep. Ex. 1)

          October 13, 2016 West Palm
          Beach campaign rally video       FRE 401, 403,
PX-20                                                           Yes              No
          (14:28-15:32) (Defendant Dep.        404
          Ex. 40)

          October 13, 2016 West Palm
                                           FRE 401, 403,
PX-21     Beach campaign rally video                            Yes              No
                                               404
          (17:32-17:57)

          October 13, 2016 West Palm
          Beach campaign rally video       FRE 401, 403,
PX-22                                                           Yes              No
          (17:58-19:23) (Defendant Dep.        404
          Ex. 36)

          October 14, 2016 Greensboro,
                                           FRE 401, 403,
PX-23     NC campaign rally video                               Yes              No
                                               404
          (17:10-18:30)

          October 14, 2016 Greensboro,
          NC campaign rally video          FRE 401, 403,
PX-24                                                           Yes              No
          (24:34-25:06) (Defendant Dep.        404
          Ex. 38)

          October 21, 2016 Gettysburg,
                                           FRE 401, 403,
PX-25     PA campaign rally video (9:44-                        Yes              No
                                               404
          10:06)

          Access Hollywood video
          recording of Donald J. Trump
                                           FRE 401, 403,
PX-26     speaking to Billy Bush in                             Yes              No
                                               404
          September 2005 (Defendant
          Dep. Ex. 35)

          People article: Natasha
                                           FRE 401, 403,
PX-27     Stoynoff, Happy Anniversary                           Yes              No
                                           404, 801, 802
          (Jan. 16, 2006)




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Exhibit                                      Defendant’s     Stipulation to   Stipulation to
              Document Description
 No.                                         Objections      Authenticity     Admissibility

          Photo of E. Jean Carroll eating
          at a restaurant, for the “Ask E.
PX-28                                                             Yes              Yes
          Jean” column
          (CARROLL_030242)

          Photo of E. Jean Carroll looking
          out a window, for the “Ask E.
PX-29                                                             Yes              Yes
          Jean” column
          (CARROLL_030229)

          Photo of E. Jean Carroll in 1998
PX-30                                                             Yes              Yes
          (CARROLL_030201)

          Photo of Natasha Stoynoff with
                                             FRE 401, 403,
PX-31     Donald Trump and others at                              Yes              No
                                                 404
          Mar-a-Lago in December 2005

                                             FRE 401, 403,
PX-32     Photo of Jessica Leeds in 1978                          Yes              No
                                                 404

          Television graphic for Ask E.
PX-33                                                             Yes              Yes
          Jean Show (1995)

          Tweets @ejeancarroll by
          @typonow and @kittywaymo           FRE 401, 403,
PX-34                                                             No               No
          (June 21, 2019)                      801, 802
          (CARROLL_030264)

          Tweets @ejeancarroll by
          @battlebornVT, @nycfla2,
          @MattSkyFather,
                                             FRE 401, 403,
PX-35     @jillybean0313,                                         No               No
                                               801, 802
          @ProfSchlitzo7,
          @TrumpVoter9 (June 21 and
          22, 2019) (CARROLL_030256)

          Tweet @ejeancarroll by
                                             FRE 401, 403,
PX-36     @rightside4me (June 22, 2019)                           No               No
                                               801, 802
          (CARROLL_030263)

          Tweet @ejeancarroll by
                                             FRE 401, 403,
PX-37     @theboydoutdoors (June 28,                              No               No
                                               801, 802
          2019) (CARROLL_030251)




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Exhibit                                  Defendant’s     Stipulation to   Stipulation to
             Document Description
 No.                                     Objections      Authenticity     Admissibility

          Email to e.jean@askejean.com
          from marianneofmaui@aol.com    FRE 401, 403,
PX-38     (June 21, 2019)                                     No               No
                                           801, 802
          (CARROLL_)

          Email to ejean@askejean.com
                                         FRE 401, 403,
PX-39     from Anonymous (June 22,                            No               No
                                           801, 802
          2019) (CARROLL_024554)

          Email to e.jean@askejean.com
          from sports_justice@gmx.com    FRE 401, 403,
PX-40                                                         No               No
          (June 22, 2019)                  801, 802
          (CARROLL_024559)

          Email to e.jean@askejean.com
          from aaarocket37@gmail.com     FRE 401, 403,
PX-41                                                         No               No
          (June 22, 2019)                  801, 802
          (CARROLL_024562)

          Email to e.jean@askejean.com
                                         FRE 401, 403,
PX-42     from meg814@msn.com (June                           No               No
                                           801, 802
          22, 2019) (CARROLL_024640)

          Email to
          ejeancarroll@gmail.com from    FRE 401, 403,
PX-43                                                         No               No
          lahey.s@shaw.ca (June 22,        801, 802
          2019) (CARROLL_024641)

          Email to e.jean@askejean.com
          from dwdwdw10@hotmail.com      FRE 401, 403,
PX-44                                                         No               No
          (June 23, 2019)                  801, 802
          (CARROLL_024684)

          Email to
          comment@askejean.com from
                                         FRE 401, 403,
PX-45     coupclan1962@gmail.com                              No               No
                                           801, 802
          (June 23, 2019)
          (CARROLL_024796)

          Email to e.jean@askejean.com
                                         FRE 401, 403,
PX-46     from rob702@gmx.com (June                           No               No
                                           801, 802
          25, 2019) (CARROLL_024944)




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Exhibit                                   Defendant’s     Stipulation to   Stipulation to
              Document Description
 No.                                      Objections      Authenticity     Admissibility

          Email to e.jean@askejean.com;
          dori.weintraub@stmartins.com;
          slazin@aevitascreative.com;
          and                             FRE 401, 403,
PX-47                                                          No               No
          awarren@aevitascreative.com       801, 802
          from sports_justice@gmx.com
          (June 25, 2019)
          (CARROLL_024974)

          Email to
          comment@askejean.com from
                                          FRE 401, 403,
PX-48     zanderzax407@gmail.com                               No               No
                                            801, 802
          (June 27, 2019)
          (CARROLL_025080)

          Email to ejean@askejean.com
                                          FRE 401, 403,
PX-49     from Anonymous (Jan. 4, 2020)                        No               No
                                            801, 802
          (CARROLL_026329)

          Email to e.jean@askejean.com
          from scottie7389@outlook.com    FRE 401, 403,
PX-50                                                          No               No
          (Jan. 10, 2020)                   801, 802
          (CARROLL_026331)

          Email to e.jean@askejean.com
          from bobruberry@hotmail.com     FRE 401, 403,
PX-51     (Sept. 8, 2020)                                      No               No
                                            801, 802
          (CARROLL_)

          Email notification of Tweet
          @ejeancarroll by @tschuler      FRE 401, 403,
PX-52                                                          No               No
          (Sept. 9, 2020)                   801, 802
          (CARROLL_028063)

          Email to
          ejeancarroll@gmail.com from     FRE 401, 403,
PX-53     samlupowitz@aol.com (Sept. 9,                        No               No
                                            801, 802
          2020) (CARROLL_)




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Exhibit                                      Defendant’s     Stipulation to   Stipulation to
              Document Description
 No.                                         Objections      Authenticity     Admissibility

          Email to
          ejeancarroll@gmail.com from        FRE 401, 403,
PX-54     lsprywa@gmail.com (Sept. 9,                             No               No
                                               801, 802
          2020) (CARROLL_)

          Facebook message from Joseph
          Rowland to E. Jean Carroll         FRE 401, 403,
PX-55     (Oct. 21, 2020)                                         No               No
                                               801, 802
          (CARROLL_)

          Email to e.jean@askejean.com
          from nwrsupertech@yahoo.com        FRE 401, 403,
PX-56     (Oct. 27, 2020)                                         No               No
                                               801, 802
          (CARROLL_)

          Email to e.jean@askejean.com
          from kuke@dakotacom.net            FRE 401, 403,
PX-57     (June 8, 2021)                                          No               No
                                               801, 802
          (CARROLL_)

          Facebook message from Isaac
          Blanchard to E. Jean Carroll       FRE 401, 403,
PX-58                                                             No               No
          (Mar. 11, 2022)                      801, 802
          (CARROLL_029774)

          Facebook message from
          Michael Drury to E. Jean           FRE 401, 403,
PX-59     Carroll (June 21, 2019)                                 No               No
                                               801, 802
          (CARROLL_)

          Facebook messages from Brian
          Flowers to E. Jean Carroll (June   FRE 401, 403,
PX-60     22, 2019)                                               No               No
                                               801, 802
          (CARROLL_)

          Facebook messages from VJ
          Zimmerman to E. Jean Carroll       FRE 401, 403,
PX-61     (June 22, 2019)                                         No               No
                                               801, 802
          (CARROLL_)



                                                15
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Exhibit                                      Defendant’s     Stipulation to   Stipulation to
              Document Description
 No.                                         Objections      Authenticity     Admissibility

          Facebook message from Renee
          Shipley to E. Jean Carroll (June   FRE 401, 403,
PX-62     22, 2019)                                               No               No
                                               801, 802
          (CARROLL_)

          Facebook message from Steve
          Barnet to E. Jean Carroll (June    FRE 401, 403,
PX-63     22, 2019)                                               No               No
                                               801, 802
          (CARROLL_)

          Facebook message from Patrick
          Harris to E. Jean Carroll (June    FRE 401, 403,
PX-64     22, 2019)                                               No               No
                                               801, 802
          (CARROLL_)

          Facebook message from Karen
          Marie Jacobsen Strunk to E.        FRE 401, 403,
PX-65     Jean Carroll (June 23, 2019)                            No               No
                                               801, 802
          (CARROLL_)

          Facebook messages from
          Kathleen Woolard to E. Jean        FRE 401, 403,
PX-66     Carroll (June 22, 2019; July 24,                        No               No
                                               801, 802
          2019) (CARROLL_)

          Facebook message from Tim
          Wolffis to E. Jean Carroll (June   FRE 401, 403,
PX-67     23, 2019)                                               No               No
                                               801, 802
          (CARROLL_)

          Facebook messages from Nellie
          Marsell to E. Jean Carroll (June   FRE 401, 403,
PX-68     23, 2019)                                               No               No
                                               801, 802
          (CARROLL_)




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Exhibit                                      Defendant’s     Stipulation to   Stipulation to
              Document Description
 No.                                         Objections      Authenticity     Admissibility

          Facebook message from David
          Alan to E. Jean Carroll (June      FRE 401, 403,
PX-69     24, 2019)                                               No               No
                                               801, 802
          (CARROLL_)

          Facebook messages from Jeff
          Tucker to E. Jean Carroll (June    FRE 401, 403,
PX-70     24, 2019; Sept. 8, 2020)                                No               No
                                               801, 802
          (CARROLL_)

          Facebook message from Patrick
          McDowell to E. Jean Carroll        FRE 401, 403,
PX-71     (June 24, 2019)                                         No               No
                                               801, 802
          (CARROLL_)

          Facebook message from Norm
          Sargent to E. Jean Carroll (June   FRE 401, 403,
PX-72     24, 2019)                                               No               No
                                               801, 802
          (CARROLL_)

          Facebook message from Jamie
          Lynn Ockerman to E. Jean           FRE 401, 403,
PX-73     Carroll (June 25, 2019)                                 No               No
                                               801, 802
          (CARROLL_)

          Facebook message from S.K.
          Bernethy to E. Jean Carroll        FRE 401, 403,
PX-74     (June 25, 2019)                                         No               No
                                               801, 802
          (CARROLL_)

          Facebook message from
          Michael Hartman to E. Jean         FRE 401, 403,
PX-75     Carroll (June 26, 2019)                                 No               No
                                               801, 802
          (CARROLL_)




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          Case 1:20-cv-07311-LAK Document 225 Filed 11/10/23 Page 18 of 28




Exhibit                                     Defendant’s     Stipulation to   Stipulation to
              Document Description
 No.                                        Objections      Authenticity     Admissibility

          Facebook messages from Bill
          Kilby to E. Jean Carroll (June    FRE 401, 403,
PX-76     27, 2019; Dec. 25, 2019)                               No               No
                                              801, 802
          (CARROLL_)

          Facebook message from Ken
          Nelson to E. Jean Carroll (June   FRE 401, 403,
PX-77     27, 2019)                                              No               No
                                              801, 802
          (CARROLL_)

          Facebook message from
          Memphis Raine to E. Jean          FRE 401, 403,
PX-78     Carroll (July 4, 2019)                                 No               No
                                              801, 802
          (CARROLL_)

          Facebook message from Joanie
          Petersen to E. Jean Carroll       FRE 401, 403,
PX-79     (Nov. 8, 2019)                                         No               No
                                              801, 802
          (CARROLL_)

          Facebook message from Larry
          Thomas to E. Jean Carroll (Jan.   FRE 401, 403,
PX-80     31, 2020)                                              No               No
                                              801, 802
          (CARROLL_)

          Facebook message from Bonnie
          Elizabeth Daily to E. Jean        FRE 401, 403,
PX-81     Carroll (Jan. 31, 2020)                                No               No
                                              801, 802
          (CARROLL_)

          Facebook messages from Ruby
          Shankles to E. Jean Carroll       FRE 401, 403,
PX-82     (Feb. 18, 2020)                                        No               No
                                              801, 802
          (CARROLL_)




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Exhibit                                     Defendant’s     Stipulation to   Stipulation to
              Document Description
 No.                                        Objections      Authenticity     Admissibility

          Facebook message from Jen
          Burton to E. Jean Carroll (Oct.   FRE 401, 403,
PX-83     27, 2020)                                              No               No
                                              801, 802
          (CARROLL_)

          Facebook message from Stuart
          Campbell to E. Jean Carroll       FRE 401, 403,
PX-84     (Oct. 27, 2020)                                        No               No
                                              801, 802
          (CARROLL_)

          Tweet @ejeancarroll by
                                            FRE 401, 403,
PX-85     @RunnerMo24 (June 21, 2019,                            No               No
                                              801, 802
          9:29 p.m.)

          Tweet @ejeancarroll by
                                            FRE 401, 403,
PX-86     @firethornranch (June 21,                              No               No
                                              801, 802
          2019, 10:14 p.m.)

          Tweet by @floccinaucini1          FRE 401, 403,
PX-87                                                            No               No
          (June 21, 2019, 10:24 p.m.)         801, 802

          Tweet @ShelbyTalcott and
          @DailyCaller by                   FRE 401, 403,
PX-88                                                            No               No
          @PapaNeanderthal (June 22,          801, 802
          2019, 6:02 p.m.)

          Tweet @nytimes by
                                            FRE 401, 403,
PX-89     @mikeprobst5 (Sept. 9, 2020,                           No               No
                                              801, 802
          2:22 p.m.)

          Tweet @nytimes by
                                            FRE 401, 403,
PX-90     @DizZieNewz (Sept. 9, 2020,                            No               No
                                              801, 802
          5:08 p.m.)

          Tweet @nytimes by
                                            FRE 401, 403,
PX-91     @nterruptedgirl (Sept. 12,                             No               No
                                              801, 802
          2020, 10:03 p.m.)

          Tweet @dcexaminer by
                                            FRE 401, 403,
PX-92     @BruceWe77516428 (Sept. 16,                            No               No
                                              801, 802
          2021, 1:19 a.m.)




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Exhibit                                     Defendant’s     Stipulation to   Stipulation to
              Document Description
 No.                                        Objections      Authenticity     Admissibility

          Tweet @nytimes by
                                            FRE 401, 403,
PX-93     @LukeLondonJr1 (Sept. 21,                              No               No
                                              801, 802
          2022, 6:06 a.m.)

          Tweet @ejeancarroll by
                                            FRE 401, 403,
PX-94     @Angerisinnate (Sept. 21,                              No               No
                                              801, 802
          2022, 4:23 p.m.)

          Tweet @ejeancarroll by
                                            FRE 401, 403,
PX-95     @pinochet_pilot (Sept. 6, 2022,                        No               No
                                              801, 802
          12:26 a.m.)

          Truth Social post by
                                            FRE 401, 403,
PX-96     @realDonaldTrump (May 9,                               Yes              No
                                                404
          2023, 3:29 p.m.)

          Truth Social video post by
                                            FRE 401, 403,
PX-97     @realDonaldTrump (May 9,                               Yes              No
                                                404
          2023, 9:00 p.m.)

          Truth Social post by
                                            FRE 401, 403,
PX-98     @realDonaldTrump (May 10,                              Yes              No
                                                404
          2023, 8:59 a.m.)

          Video of May 10, 2023 CNN         FRE 401, 403,
PX-99                                                            Yes              No
          Townhall with Donald J. Trump         404

          Transcript of May 10, 2023
                                            FRE 401, 403,
PX-100    CNN Townhall with Donald J.                            Yes              No
                                                404
          Trump

          Truth Social post by
                                            FRE 401, 403,
PX-101    @realDonaldTrump (July 12,                             Yes              No
                                                404
          2023, 6:33 a.m.)

          Tweet by @dinoredman (May         FRE 401, 403,
PX-102                                                           No               No
          10, 2023 10:16 p.m.)                801, 802

          Email to ejean@askejean.com
                                            FRE 401, 403,
PX-103    from Anonymous (May 22,                                No               No
                                              801, 802
          2023, 10:54 p.m.)




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Exhibit                                    Defendant’s     Stipulation to   Stipulation to
             Document Description
 No.                                       Objections      Authenticity     Admissibility

          Tweet @ejeancarroll by
                                           FRE 401, 403,
PX-104    @JustTRUMPLICAN (May 31,                              No               No
                                             801, 802
          2023 12:32 p.m.)

          Email to e.jean@askejean.com
          from                             FRE 401, 403,
PX-105                                                          No               No
          marthamorgan1@comcast.net          801, 802
          (June 8, 2023, 8:36 p.m.)

          Tweet by @alex_pilled (June      FRE 401, 403,
PX-106                                                          No               No
          28, 2023 8:28 a.m.)                801, 802

          Tweet by @DaveKnight1776         FRE 401, 403,
PX-107                                                          No               No
          (June 28, 2023 9:10 a.m.)          801, 802

          Email to e.jean@askejean.com
          from                             FRE 401, 403,
PX-108                                                          No               No
          NebraskaCornhusker@proton.         801, 802
          me (June 28, 2023, 1:34 p.m.)

          Tweet @ejeancarroll by
                                           FRE 401, 403,
PX-109    @pgravel5 (June 28, 2023, 8:30                        No               No
                                             801, 802
          p.m.)

          Tweet @ejeancarroll by
                                           FRE 401, 403,
PX-110    @cbdUdE2 (June 29, 2023,                              No               No
                                             801, 802
          12:26 a.m.)

          Tweet @ejeancarroll by
                                           FRE 401, 403,
PX-111    @Michael50199969 (July 19,                            No               No
                                             801, 802
          2023, 6:11 p.m.)

          Tweet @ejeancarroll by
                                           FRE 401, 403,
PX-112    @TerryLandscaper (August 8,                           No               No
                                             801, 802
          2023, 11:07 a.m.)

          Email to e.jean@askejean.com
                                           FRE 401, 403,
PX-113    from bluetacit21@hotmail.com                          No               No
                                             801, 802
          (Sept. 9, 2023, 1:38 p.m.)

          Email to e.jean@askejean.com
                                           FRE 401, 403,
PX-114    from bluetacit21@hotmail.com                          No               No
                                             801, 802
          (Sept. 9, 2023, 1:42 p.m.)




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Exhibit                                         Defendant’s         Stipulation to        Stipulation to
               Document Description
 No.                                            Objections          Authenticity          Admissibility

          Tweet @ejeancarroll by
                                               FRE 401, 403,
PX-115    @Pat_Soyjack (September 14,                                     No                      No
                                                 801, 802
          2023, 4:04 p.m.)

          Tweet @ejeancarroll by
                                               FRE 401, 403,
PX-116    @JohnTausche (September 14,                                     No                      No
                                                 801, 802
          2023, 4:17 p.m.)

          Tweet @ejeancarroll by
                                               FRE 401, 403,
PX-117    @Stock_Sniper (September 14,                                    No                      No
                                                 801, 802
          2023, 4:37 p.m.)

          Tweet @ejeancarroll by
                                               FRE 401, 403,
PX-118    @kenjgld (September 14, 2023,                                   No                      No
                                                 801, 802
          4:57 p.m.)

          Tweet @ejeancarroll by
                                               FRE 401, 403,
PX-119    @gabriel58106 (September 14,                                    No                      No
                                                 801, 802
          2023, 5:45 p.m.)

          Tweet @ejeancarroll by
                                               FRE 401, 403,
PX-120    @Joannas46255745 (September                                     No                      No
                                                 801, 802
          14, 2023, 6:18 p.m.)

          Tweet @ejeancarroll by
                                               FRE 401, 403,
PX-121    @Beer30thirty (November 7,                                      No                      No
                                                 801, 802
          2023, 9:57 p.m.)

          B.     Defendant’s Exhibits

          The following is a list of exhibits Defendant intends to offer in his case-in-chief:

Exhibit                                          Plaintiff’s        Stipulation to       Stipulation to
               Document Description
 No.                                             Objections         Authenticity         Admissibility
                                              Depending on
                                              the portions to be
                                              designated,
          Transcript of the Deposition of
                                              Plaintiff may
 DX-1     Donald J. Trump dated October                                  Yes.                    Yes.
                                              object under
          19, 2022
                                              FRE 106, 401,
                                              403, 412, 602,
                                              801, and 802.



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Exhibit                                        Plaintiff’s       Stipulation to   Stipulation to
              Document Description
 No.                                           Objections        Authenticity     Admissibility
                                            Depending on
                                            the portions to be
                                            designated,
          Video Recording of the
                                            Plaintiff may
DX-2      Deposition of Donald J. Trump                              Yes.             Yes.
                                            object under
          dated October 19, 2022
                                            FRE 106, 401,
                                            403, 412, 602,
                                            801, and 802.
                                            Depending on
                                            the portions to be
                                            designated,
          Transcript of the Deposition of
                                            Plaintiff may
DX-3      E. Jean Carroll dated October                              Yes.              No.
                                            object under
          14, 2022
                                            FRE 106, 401,
                                            403, 412, 801,
                                            and 802.
                                            Depending on
                                            the portions to be
                                            designated,
          Video Recording of the
                                            Plaintiff may
DX-4      Deposition of E. Jean Carroll                              Yes.              No.
                                            object under
          dated October 14, 2022
                                            FRE 106, 401,
                                            403, 412, 801,
                                            and 802.
                                            Depending on
                                            the portions to be
                                            designated,
          Transcript of the Deposition of
                                            Plaintiff may
DX-5      E. Jean Carroll dated January                              Yes.              No.
                                            object under
          31, 2023
                                            FRE 106, 401,
                                            403, 412, 801,
                                            and 802.
                                            Depending on
                                            the portions to be
                                            designated,
          Video Recording of the
                                            Plaintiff may
DX-6      Deposition of E. Jean Carroll                              Yes.              No.
                                            object under
          dated October 14, 2022
                                            FRE 106, 401,
                                            403, 412, 801,
                                            and 802.



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Exhibit                                        Plaintiff’s       Stipulation to      Stipulation to
              Document Description
 No.                                           Objections        Authenticity        Admissibility
                                            Depending on
                                            the portions to be
                                            designated,
          Transcript of the Deposition of
                                            Plaintiff may
DX-7      E. Jean Carroll dated January                               Yes.                 No.
                                            object under
          31, 2023
                                            FRE 106, 401,
                                            403, 412, 801,
                                            and 802.
                                            Depending on
                                            the portions to be
                                            designated,
          Video Recording of the
                                            Plaintiff may
DX-8      Deposition of E. Jean Carroll                               Yes.                 No.
                                            object under
          dated January 31, 2023
                                            FRE 106, 401,
                                            403, 412, 801,
                                            and 802.
                                            FRE 401;
                                            depending on the
                                            portions to be
          Transcript of the Deposition of   designated,
DX-9      Lisa Birnbach dated September     Plaintiff may             Yes.                 No.
          21, 2022                          object under
                                            FRE 106, 401,
                                            403, 412, 602,
                                            801, and 802.
                                            ECF 223; FRE
                                            401, 403, 702,
                                            703, 801, and
                                            802; FRCP
                                            26(a)(2)(D)(i);
DX-10     Rebuttal Expert Report1           Daubert v.                No.                  No.
                                            Merrell Dow
                                            Pharms., Inc.,
                                            509 U.S. 579,
                                            113 S. Ct. 2786
                                            (1993).



  1
    Defendant reserves the right to identify his rebuttal expert and submit the expert’s report and
  accompanying documentation as exhibits pending adjudication of the motion to substitute a new
  rebuttal expert filed by Defendant on November 2, 2023. ECF 221.

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Exhibit                                        Plaintiff’s      Stipulation to   Stipulation to
              Document Description
 No.                                           Objections       Authenticity     Admissibility
          Text Communications between
          Lisa Birnbach and E. Jean         FRE 106, 401,
DX-11     Carroll dated June 22,2019        403, 801, and           Yes.              No.
          (Defendant’s Exhibit 1, Pltf.     802.
          Deposition)
                                            FRE 106, 401,
                                            403, 412, 801,
          Relevant Portions of Transcript   and 802;
          of June 22, 2020 Interview        Carroll II, Trial
DX-12                                                               Yes.              No.
          between E Jean Carroll and        Tr. 518:3–
          Natasha Stoynoff (DX-BT)          534:19
                                            (sustaining
                                            objection).
          CheerLEADING for
          Democracy with E. Jean            FRE 106, 401,
DX-13     Carroll; The MeidasTouch          403, 412, 801,          Yes.              No.
          Podcast dated April 26, 2023      and 802.
          (DX-BU-T)
          December 5, 2019 The Maris        FRE 106, 401,
DX-14     Review, Episode 31-E. Jean        403, 412, 801,          Yes.              No.
          Carroll (DX-BV-T)                 and 802.
          Email from E. Jean Carroll to     FRE 106, 401,
DX-15     Tara Fitzpatrick dated July 18,   403, 801, and           Yes.              No.
          2019 (DX-CG)                      802.
          Email from E. Jean Carroll to     FRE 106, 401,
DX-16     Sarah Lazin dated August 1,       403, 801, and           Yes.              No.
          2019 (DX-CL)                      802.
                                          FRE 106, 401,
          Email from E. Jean Carroll to
DX-17                                     403, 801, and             Yes.              No.
          Sarah Lazin dated July 31, 2019
                                          802.
          Email from E. Jean Carroll to     FRE 106, 401,
DX-18     Lisa Birnbach dated September     403, 801, and           Yes.              No.
          30, 2019 (DX-DH)                  802.




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Exhibit                                          Plaintiff’s       Stipulation to       Stipulation to
              Document Description
 No.                                             Objections        Authenticity         Admissibility
                                              FRE 401;
                                              depending on the
                                              portions to be
          Transcript of the Deposition of     designated,
DX-19     Carol Martin dated October 18,      Plaintiff may             Yes.                 No.
          2022                                object under
                                              FRE 106, 401,
                                              403, 412, 602,
                                              801, and 802.
          Transcript of Interview between     FRE 106, 401,
DX-20     Anderson Cooper and E. Jean         403, 404, 412,            Yes.                 No.
          Carroll dated June 24, 2019         801, and 802.

          Video of Interview between          FRE 106, 401,
DX-21     Anderson Cooper and E Jean          403, 404, 412,            Yes.                 No.
          Carroll dated June 24, 2019         801, and 802.

  V.      GENERAL PROVISIONS, STIPULATIONS, AND OBJECTIONS WITH
          RESPECT TO EXHIBITS

          Any objections not set forth herein will be considered waived absent good cause shown.

  See chart above in Section IV for stipulations and objections with respect to exhibits.

  VI.     PLAINTIFF’S WITNESS LIST

          The witnesses listed below may be called at trial. No witness not identified herein shall be

  permitted to testify in either party’s case-in-chief absent good cause shown.

          Plaintiff may call at trial the following persons:

          x   E. Jean Carroll
          x   Roberta Myers
          x   Natasha Stoynoff
          x   Jessica Leeds
          x   Prof. Ashlee Humphreys




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VII.   DEFENDANT’S WITNESS LIST

       The witnesses listed below may be called at trial. No witness not identified herein shall be

permitted to testify in either party’s case-in-chief absent good cause shown.

       Excepting rebuttal or impeachment, Defendant may call at trial the following:

       x   E. Jean Carroll
       x   Donald J. Trump
       x   Rebuttal Expert2
       x   David Haskell
       x   Sarah Lazin
       x   Lisa Birnbach
       x   Carol Martin

VIII. RELIEF SOUGHT

       Carroll seeks compensatory and punitive damages for the harms caused by Trump’s

defamatory statements. Carroll also seeks pre- and post-judgment interest, costs, and such other

and further relief as this Court may deem just and proper.

       Defendant respectfully demands judgment dismissing this action in its entirety together

with costs, disbursements, and all other relief this Court deems just and proper.




2
 To be identified pending adjudication of the letter motion filed by Defendant on November 2,
2023.

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Dated: November 10, 2023                      Respectfully submitted,



Alina Habba                                   Roberta A. Kaplan
Michael Madaio                                Shawn Crowley
HABBA MADAIO & ASSOCIATES LLP                 Trevor Morrison
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                                              rkaplan@kaplanhecker.com
Counsel for Defendant Donald J. Trump         scrowley@kaplanhecker.com
                                              tmorrison@kaplanhecker.com
                                              mcraig@kaplanhecker.com

                                              Counsel for Plaintiff E. Jean Carroll




IT IS SO ORDERED this ____ day of ________________, 2023.


____________________________________
The Hon. Lewis A. Kaplan
United States District Judge




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